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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION
                       _____________________________________

STATE OF TEXAS,

       Plaintiff,

v.                                                Civil Action No. 4:21-CV-579-P

JOSEPH R. BIDEN, JR. et al.,

       Defendants.

                             NOTICE OF NEW CDC ORDER

       The government files this notice to inform the Court and Texas that the Centers for

Disease Control and Prevention (CDC) has issued a new order pursuant to 42 U.S.C.

§§ 265, 268 and the implementing regulation, 42 C.F.R. § 71.40 (“April 2022 Order”).

The April 2022 Order terminates the Public Health Reassessment and Order Suspending

the Right to Introduce Certain Persons from Countries Where a Quarantinable

Communicable Disease Exists (“August 2021 Order”), and all related prior orders, and

the termination will be implemented on May 23, 2022. See Attachment A. The

undersigned will promptly confer with counsel for Texas so that the parties are in a

position to file a joint status report on April 7, 2022 to propose next steps in the case, as

directed by the Court’s March 24, 2022 order. (Doc. 104.)




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                                                   Respectfully submitted,

                                                   CHAD E. MEACHAM
                                                   UNITED STATES ATTORNEY

                                                   /s/ Brian W. Stoltz
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                                                   Attorneys for Defendants

                                    Certificate of Service

       On April 1, 2021, I electronically submitted the foregoing document with the clerk

of court for the U.S. District Court, Northern District of Texas, using the electronic case

filing system of the court. I hereby certify that I have served all parties electronically or

by another manner authorized by Federal Rule of Civil Procedure 5(b)(2).

                                                   /s/ Brian W. Stoltz
                                                   Brian W. Stoltz
                                                   Assistant United States Attorney




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